           Case 3:11-cr-04401-DMS                       Document 38                Filed 01/06/12              PageID.108              Page 1 of 2
                                                                                                                                FILED
      ~AO 245B (CASD) (Rev. WI I ) Judgment in a Criminal Case
                Sheet 1                                                                                                        JAN - 6 2012
                                                                                                                  sou.(LERK US DISTRICT CO
                                              UNITED STATES DISTRICT COU                                               HERN         TRICTOFCAlY~RNIA
                                                                                                                                                    DEPUTY
                                                  SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                        v.                                         (For Offenses Committed On or After November 1, 1987)

                LEOPOLDO MONTEJANO·CHAVEZ (2)                                      Case Number: lICR4401-DMS

                                                                                    Thomas S Sims CJA
                                                                                   Defendant's Attorney
    REGISTRATION NO. 28352298

    o
    THE DEFENDANT:
    Igj pleaded guilty to count(s) _1_o_f_th_e_I_n_fo_rmati_o_n_
                                                     __          _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

      o was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
     Title & Section                         Nature ofOtTense                                                                              Number(s)
8 USC 1324(a)(2)(B)(iii)              BRINGING IN ILLEGAL ALIEN WITHOUT PRESENTATION AND                                                    I
 and 18 USC 2                             AIDING AND ABETTING




        The defendant is sentenced as provided in pages 2 through _---=2::...-_ of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
  o   The defendant has been found not guilty on count(s)
                                      ---------------------------
  D Count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is 0 areD dismissed on the motion of the United States.

  ~ Assessment: $100.00.



  ~ Fine waived.                                    o Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                               JANUARY 6, 2012




                                                                              HON. DANA M. SABRAW
                                                                              UNITED STATES DISTRICT JUDGE

                                                                                                                                                IICR4401-DMS
     Case 3:11-cr-04401-DMS                        Document 38      Filed 01/06/12         PageID.109          Page 2 of 2


AO 2458 (CASO) (Rev. 1211l) Judgment in a Criminal Case
            Sheet 2   Imprisonment

                                                                                           Judgment - Page _ _2 _ of         2
DEFENDANT: LEOPOLDO MONTEJANO-CHAVEZ (2)
CASE NUMBER: llCR4401-DMS
                                                           IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         TWELVE (12) MONTHS AND ONE (I) DAY.



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes the following recommendations to the Bureau of Prisons:

    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                     Oa.m.    Op.m.   on _ _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o before -------------------------------------------------------------------------
       o as notified by the United States Marshal.
       o as notified by the Probation or Pretrial Services Office.
                                                              RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                to

 at __________________ , with a certified copy of this judgment.


                                                                                         UNITED STATES MARSHAL


                                                                    By _ _ _ _ _~~~~~~~~~~-----
                                                                                      DEPUTY UNITED STATES MARSHAL




                                                                                                                   11CR4401-DMS
